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 4
     Attorney for Defendant
 5   GARY ROBERTS
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                            Case No.: 2:17-CR-00064 JAM
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                                    Plaintiff,            STIPULATION CONTINUING FILING
12                                                        AND HEARING DATES ON
            v.
                                                          DEFENDANT’S DISCOVERY
13
     GARY ROBERTS,                                        MOTION; ORDER
14
                                    Defendants.           DATE: July 23, 2018
15                                                        TIME: 2:00 p.m.
                                                          COURT: Hon. Allison Claire
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17
18                                               STIPULATION
19          Defendant Gary Roberts, by and through undersigned counsel, and Plaintiff United States
20   of America, by and through its counsel of record, hereby stipulate as follows:
21          1. By previous motion, this matter was set for hearing on July 9, 2018 before the
22   honorable Magistrate Judge Delaney. Dkt. #110.
23          2. By this stipulation, the parties now move to continue the discovery hearing to July 23,
24   2018. In addition, they stipulate that the defendant’s reply to the government’s opposition will
25   be due on July 16, 2018.
26          3. This continuance will allow the defendant to adequately respond to the issues raised
27   by the government in its opposition brief.
28          4. The defendant is out of custody. Dkt. #67.

                                                      1
     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
             Case 2:17-cr-00064-JAM Document 119 Filed 07/05/18 Page 2 of 2


 1          5. The case’s next status conference is set for August 21, 2018. Dkt. #114.
 2          IT IS SO STIPULATED
 3
 4   Dated: July 3, 2018                                 /s/ ETAN ZAITSU
                                                         ETAN ZAITSU
 5                                                       Attorney for Defendant
 6                                                       GARY ROBERTS

 7
     Dated: July 3, 2018                                 McGREGOR W. SCOTT
 8                                                       United States Attorney
 9
                                                         /s/ AMANDA BECK
10                                                       AMANDA BECK
                                                         Assistant United States Attorney
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12
13
                                      FINDINGS AND ORDER
14
15          IT IS SO FOUND AND ORDERED

16   Dated: July 5, 2018
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     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
